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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF INDIANA
                                        INDIANAPOLIS DIVISION

 In re:                                                         )
                                                                )         Chapter 11
 ATA AIRLINES, INC.                                             )         Case No. 08-03675-BHL-11
                                                                )
                      Debtor                                    )

                                NOTICE OF INTENT TO SELL
                    CERTAIN MISCELLANEOUS ASSET FREE AND CLEAR OF
                      LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS

                      PLEASE TAKE NOTICE that ATA Airlines, Inc. (the “Debtor”), as debtor-in-

 possession, intends to sell (the “Proposed Transaction”) a certain miscellaneous asset, as set forth

 in the following table (the “Miscellaneous Asset”).


                                                                                     Value of Asset
                                                                Proposed            (estimated, or as   Proposed
            Asset to be Sold               Quantity
                                                                Purchaser           recorded on the     Sale Price
                                                                                    Debtor’s books)
                                             13,786                                                     GCPM less
     Fuel                                                     Airtran Airways           GCPM1
                                             gallons                                                      $.25


             PLEASE TAKE FURTHER NOTICE that the Miscellaneous Asset consists of jet fuel

 located at St. Paul International Airport (the “Fuel”). The Fuel consists of a relatively small

 batch. The Debtor has made efforts to sell the Fuel to other parties, but has found no interest in

 purchasing this small batch of fuel. As for the price offered, Airtran Airways has offered GCPM

 less $.25 to account for the fact that the GCPM index fluctuates on a weekly basis.2 Moreover,

 while the value of the Fuel is listed above as GCPM to account for the fact that GCPM is



 1
     Gulf Coast Pipeline Mean.
 2
     As of the filing of this Notice, GCPM is $1.28 a gallon.



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 generally considered the market rate, Airtran Airways’s offer to purchase the Fuel is the only

 offer received by the Debtor.

                      PLEASE TAKE FURTHER NOTICE that this Notice is being filed with the

 Bankruptcy Court and served upon the Notice Parties as required by the Sale Notice Procedures

 previously approved by the Bankruptcy Court.

                      PLEASE TAKE FURTHER NOTICE that you shall have five (5) business days

 after service of this Notice (the “Notice Period”) to serve Debtor’s counsel with a written

 objection to the Proposed Transaction in a manner so your objection is actually received by

 counsel for the Debtor at the address below prior to the expiration of the Notice Period. In the

 absence of any objection, the Debtor will submit to the Bankruptcy Court a form of order setting

 forth that: (i) the notice procedures for the sale of the Miscellaneous Asset have been satisfied;

 (ii) no objection to the sale of the Miscellaneous Asset was timely made or such objection has

 been resolved; (iii) the Debtor may proceed with the sale of the Miscellaneous Asset; and (iv) the

 order authorizing the Proposed Transactions shall be immediately effective notwithstanding the

 ten (10) day stay of sales of assets set forth in Federal Rule Bankruptcy Procedure 6004(g). The

 form of order will also provide that to the extent any person or entity has any lien, security

 interest, encumbrance, or other interest (“Lien”) in the Miscellaneous Asset sold in the Proposed

 Transaction, that the Miscellaneous Asset is sold free and clear of such Lien in accordance with

 11 U.S.C. § 363(f), and the Lien shall attach to the sales proceeds of the Miscellaneous Asset.

 To the extent that any party other than JPMorgan Chase Bank, N.A. asserts a Lien on the

 proceeds of a sale, the Debtor has the right to place such proceeds in one or more segregated

 bank accounts pending a determination or consensual resolution of the validity and priority of

 such Lien(s).




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                      PLEASE TAKE FURTHER NOTICE that upon Court approval of the order

 authorizing the Miscellaneous Asset sale, the Debtor may consummate the Proposed Transaction

 and take such actions as are necessary to close the sale and obtain the sale proceeds without

 further notice or Court order.

                      PLEASE TAKE FURTHER NOTICE that if the Debtor timely receives a written

 objection with respect to the sale of any Miscellaneous Asset, and the Debtor is unable to resolve

 such objection, the Debtor will not take any additional steps to consummate the sale of the

 Miscellaneous Asset subject to the objection without first obtaining the Court’s approval.

 Dated: March 6, 2009                                                     BAKER & DANIELS LLP

                                                                          /s/ Terry E. Hall
                                                                          Terry E. Hall (#220421-49)
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                                                                                 - and -

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                                              CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing was served by (i) electronic
 mail transmission through the Bankruptcy Court’s CM/ECF system, (ii) separate electronic mail
 transmission, or (iii) first class United States mail, postage prepaid, on the 6th day of March,
 2009, on the Office of the United States Trustee, counsel for JPMorgan Chase Bank, N.A., and
 counsel for the Official Committee of Unsecured Creditors.

                                                                                 /s/ Terry E. Hall




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